with Rule 58 and,‘or,79 (a) FRCP on

Case 1:04-cv-01154-.]DT-STA Document 88 Filed 05/05/05 Page 1 of 4 Pag/YD 66

 

 

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IN THE UNITED STATES DISTRICT COURT `3 fo c
FOR THE WESTERN DISTRICT OF TENNESSEE /y`§`.
EASTERN DIVISION . O/ \ 'O

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RBP, LLC, ) _(h";zr}//J/.?~‘~ /

) “'/iLQC/\: /`

/V
Plaintiff, )
vs. )
GENUINE PARTS COMPANY, )
)
Defenda.,nt. )
)
) No. 1-04-I 154-T/AN

GENUINE PARTS COMPANY, )
)
'I`hird-Party Plaintiff, )
)
vs. )
)
ALLIANZ GLOBAL R_ISK U.S. )
mSURANcE coMPANY and )
LEXINGTON INSURANCE COMPANY, )
)
Third-Party Defendants. )

 

ORDER FOR ADMISSION PRO HAC VICE

 

Upon motion by counsel, and for good cause shown, it is hereby
ORDERED that Henry R. Daar and Thomas A. Vickers of the law firm of Daar & Vanek,
P.C., 225 W. Washington, 18th Floor, Chicago, IL 60606, are hereby admitted to the bar of this

court pro hac vice for the purpose of acting as counsel for defendant/third party plaintiff Genuine

@l/mw?>rW

UNIT STATES DISTRICT JUDGE

,
Date: 3 /)/LAV; QM 5
This_document entered on the docket sheet in compliance
§ l 5 [ [ §§

Parts Company in the above-captioned matter.

 

 

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6ase 1:04-cv-01154-.]DT-STA Document 88 Filed 05/05/05 Page 2 of 4 Page|D 67

CERTIFICATE OF SERVICE

 

I hereby certify that I have on this

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F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
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